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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION

                                                    §
                                                    §
                                                    §
THERESE RUSSELL                                     §
                                                    §   CIVIL ACTION NO. 2:09-CV-194-J
                                                    §
       Plaintiff,                                   §
                                                    §
v.                                                  §
                                                    §
BABCOCK & WILCOX TECHNICAL                          §
SERVICES PANTEX, LLC,                               §
                                                    §
       Defendant.                                   §

                    AGREED MOTION TO DISMISS THE CLAIMS OF
                          PLAINTIFF THERESE RUSSELL

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

       COME NOW Therese Russell (“Plaintiff”) and Babcock & Wilcox Technical Services

Pantex, LLC (“Pantex”) (collectively the “Parties”), by and through their counsel of record, and

file this Agreed Motion to Dismiss the Claims of Plaintiff Therese Russell. In support of this

motion, the Parties state that all claims of Plaintiff against Defendant should be dismissed with

prejudice for the reason that Plaintiff has decided that she no longer wishes to pursue her cause

of action under the Fair Labor Standards Act.

       WHEREFORE, the parties respectfully request that the Court grant this motion and enter

the Parties’ Agreed Order of Dismissal for the Claims of Plaintiff Therese Russell.




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                                            Respectfully submitted,

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                                                     CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the foregoing document and that a true and
correct copy was served on the parties listed below through the electronic case filing system if
the Notice of Electronic Filing indicated that the parties received it or otherwise by mailing a
copy by Certified Mail, Return Receipt Requested, to the parties this 16th day of April, 2010.

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                                                                        /s/ Bradley W. Howard
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